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  9th Circuit Case Number(s) 12-16373


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                           CERTIFICATE OF SERVICE
     When All Case Participants are Registered for the Appellate CM/ECF System
  I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
  United States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system
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  I certify that all participants in the case are registered CM/ECF users and that service will be
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